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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                  )
ATLAS, INC., et al.,              )     Case No.: 1:17-cv-01953-RDM
                                  )
             Plaintiffs,  )             Hon. Randolph D. Moss
                          )v.
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                  )
             Defendants.          )
~~~~~~~~~~.)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 32:
         Declaration of Dennis Gerber
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO                     Civil Action No. 1:17-CV-01953 RDM
WORDLWIDE, INC.,

Plaintiffs,

                       v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

Defendants.

                            DECLARATION OF DENNIS GERBER

        I, Dennis Gerber, do hereby declare under penalty of perjury pursuant to 28 U.S.C. §

1746 the following:

        1.     I am a dispatcher employed with Atlas Air, Inc. (Atlas). I have worked as a

dispatcher at Atlas for nearly nineteen years.

        2.     I have released and/or monitored thousands of flights in my tenure at Atlas.

        3.     Dispatchers at Atlas face many unique challenges that are rarely seen by our peers

at the major airlines. The nature of the Atlas model sets us apart from the rest of the industry.

Many of the challenges are based on the nature of ACMI flying where we may fly the same

flight segments for different customers who have distinct differences in the way we have to plan

these flights. We are often challenged with charters to destinations we do not normally service

or are in politically sensitive areas. The Dispatcher has two distinct roles, planning and tactical.

Each shift has one lead dispatcher and three or four line dispatchers. The lead dispatcher divides
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the fleet up between the available dispatchers who will then assume operational control of their

assigned aircraft. The lead dispatcher is also assigned flights but shares the responsibility for the

entire fleet with the Line dispatchers. Four to five hours prior to departure the Dispatcher starts

analyzing weather, performance, operating limitations, aircraft maintenance status, and

NOTAMs to start the flight planning process. The Dispatcher is also maintaining flight watch on

numerous flights already released or in the air while flight planning, maintaining our shared

operational control with the flight crew. As dispatchers, we are monitoring changing conditions,

using available information to develop and update flight plans. When appropriate, we

communicate infonnation, instructions, and guidance to the flight crewmembers. Our goal is to

send all flight plans at least 3 hours prior to departure. The flight plan package is stored

electronically for 3 months to satisfy the requirements of FAR 121.697.

       4.      Our operation is structured so that the Atlas/Polar Dispatcher can focus solely on

the Dispatch functions of flight planning and flight watch. We do not get involved with the crew

scheduling/duty issues, ground operations issues, or the coding of delays. I was asked

specifically if we tracked the "loaded and ready" status of flights. "Loaded and ready" is a term

I have never heard referenced in my time with Atlas. Dispatch does not track when an aircraft is

loaded and fueled, and I am not aware of any operational department that does track this. The

only time I am made aware that an aircraft is ready to go early is when/if a flight crew calls

stating such and requests an early departure. When we receive a request for an early departure

we confirm that the release would be valid for the early departure. We then consult Operations

Control who checks with Crew Scheduling to confirm that the crew is legal for the early

departure and the downline station to be sure that the station can handle the early anival




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       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

 October 20, 2017
Dated:




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